Case 5:18-fj-O0003-HE Document 103 Filed 08/21/19 Page 1of5

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and
SHAWNA POWELL,

Plaintiffs,
Vv.

WILBANKS SECURITIES, INC., an
Oklahoma Corporation, and AARON
BRONELLE WILBANKS, individually,
Defendants,
and

Atlas Energy Group, LLC,

Garnishee.

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Case No. 5:18-FJ-00003-HE

FILED

AUG 2 1 2019

CARMELITA REEDER SHINN, CLERK

ESTERN DIST. OKLA.
ue DIST, COU ry ‘DEPUTY

Non-Continuing and General Garnishee’s Answer/A ffidavit

Stateof JOAre )
County of _Semart )

L “T piel e Hervser

SS

, (garnishee or individual answering on behalf of garnishee), in

 

answer to a garnishment summons served on the _/2 day of Ald suot- , 20.47 _, and having

knowledge of the facts and being sworn, state:

e If Garnishee is an Individual:

That garnishee is an individual, whose full legal name is
and that garnishee does business under the name of

e If Garnishee is a Partnership:
That garnishee is
following persons:

 

 

; a partnership composed of the

 

 

oe If Garnishee is a Cosporatina:

That garnishee is Avas teva Group bee its subsiliarexa eotperation, organized under the laws

of the state of “Dy Jy weve

 

_, and the official title of the person answering on behalf of

gamishee is_ SVP, Genernl Counsel neha; .
: ]

1. At the time of the service of the garnishment summons, or upon the date it became effective, the garnishee
was not indebted to the judgment debtor for any amount of money nor did the garnishee have possession or
control of any property, money, goods, chattels, credits, negotiable instruments or effects belonging to the
judgment debtor or in which the judgment debtor had an interest because the employee/individual/judgment

debtor was: (Please check appropriate response)

Not employed
Case 5:18-fj-O0003-HE Document 103 Filed 08/21/19 Page 2 of 5

Employed but no amounts due; specify reason: _

 

Other; specify:

 

 

At the time of service of the garnishment summons or upon the date it became effective, the garnishee was
indebted to the judgment debtor or had possession or control of the following property, money, goods,
chattels, credits, negotiable instruments or effects belonging to the judgment debtor as follows: (Please check

appropriate response)

Earnings as shown on the attached Calculation for Garnishment of Earnings form which is
incorporated by reference into this answer;

Upon conducting the review of the debtor’s account(s) mandated by 31 CFR § 212.1 et. seq,
garnishee has determined the account(s) contains $ unprotected funds, and
$ protected funds. Specify type(s) of protected funds, and if more than one type,

specify amount of each:

 

 

x Other; specify: Current istry b wtign interes 3 defendants taterent in tla Kearureee’
Serres 3awe/a kd... and CAtles Ee itereins Serres 33-3013 LA

Check here [___] if additional pages are necessary.

Nothing has been withheld due to a prior garnishment or continuing garnishment which will expire on

 

 

 

 

and is in Case Number in the District Court of
_ County, Oklahoma,
On fl lout /9 , 20/7 _, the garnishee mailed a copy of the Notice of Garmishment &
Exemptions and Application for Hearing by first-class mail to the judgment debtor at:
Address aay NED Zy press ists, Sucte FID
City Bklaheatn Cts,
State Oke hema Zip__73//@

 

Date Mailed — P-/9- 47_

 

Or, hand delivered the same to judgment debtor at:

Judgment Debtor
Place

 

 

The garnishee makes the following claim of exemption on the part of the judgment debtor, or has the
following objections, defenses, or setoffs to judgment creditor’s right to apply garnishee’s indebtedness to
judgment debtor upon judgment creditor’s claim:

 

 

Check here [___] if additional pages are necessary.
Case 5:18-fj-O0003-HE Document 103 Filed 08/21/19 Page 3 of 5

 

 

 

 

By: ire 5. ee Date: F919
wale ? Counsec ¥ eae
Subscribed and sworn to before me on this /7*" _ day of Arspot , 204
Prim Dade 7] . dine Ley,
DENISE M. STARKEY Notary Public / g
Attomey At Law
. Notary Public, State of Ohio
My commission e F My commission has
Sec. 147.03 R.C.

  

When completed, mail original answer to: the Court Clerk of the United States District Court for the Western
District of Oklahoma at the following address:

200 NW 4" Street

Oklahoma City, OK 73102

Please Note: You must send your check for the amount garnished with a copy of your answer to the
attorneys named below. The check shall be made to the attorneys’ trust account, “RG Busch
PLLC COLTAF Account”

Attorneys for Judgment Creditor:
Nicholas M. Tait and Rob G. Busch

RG Busch PLLC
P.O, Box 3931
Greenwood Village, CO 80155

AOC Form
Revised 5/20] 1
Case 5:18-fj-O0003-HE Document 103 Filed 08/21/19 Page 4 of 5

ATLAS RESOURCES SERIES 33-2013 L.P. S$33-000074017

WILBANKS SECURITIES INC Investor Id: 341383

 

ATLAS KESOURCES SERIES 33-2Z0IT LG.

P. " _ SIZ-0000720I7
Park Place Corporate Center One  KeyBank National Association
425 Houston St, Suite 300

Fort Worth, TX 76102
1-800-251-0171

  
 

6-103
410 VOID AFTER 180 DAYS
f 8/16/2019 S*kEK2, 334.96
TWO THOUSAND THREE HUNDRED THIRTY-FOUR AND 9 < DOLLARS *

RG BUSCH PLLC COLTAF
PO BOX 3931
GREENWOOD VILLAGE CO 80155

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Case 5:18-fj-O0003-HE Document 103 Filed 08/21/19 Page 5 of 5

ATLAS RESOURCES SERIES 32-2012 L.P. §32-000073445

WILBANKS SECURITIES INC investor Id: 341383

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Park Place Corporate Center One  KeyBank National Association
425 Houston St, Suite 300
Fort Worth, TX 76102
1-800-251-0171

6-103
A VOID AFTER 180 DAYS
8/16/2019 S***2,022.37

THREE THOUSAND TWENTY-TWO AND 37/100 DOLLARS****

ert:

RG BUSCH PLLC COLTAF

PO BOX 3931

GREENWOOD VILLAGE CO 80155 infor

 

 

 

 

' 36 3 all
